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IN THE UNITED sTATEs DISTRICT coURT FH_ED BY _*_ D_¢,
FoR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIVISION BSAUG‘B PH ztoh
GATOR FREIGHTWAYS, INC. d/b/a MMYS,§§T§Y&M
R+L CARRIERS' wroo`;¢` initials

Plaintiff,
V. NO. 05-2301 Ml/An
DORO MOTORS, INC.,

Defendant.

-._/-_/-_/\_/`_/-_/~../\._/\._/\._,\._/

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.l(f), a Rule 16(b) Scheduling Order
was entered on July 14, 2005, by United States Magistrate Judge S.
Thomas Anderson. In accordance with the deadlines established in
that order, the trial and pretrial dates are set as follows before

the District Court:

l. The jury trial in this matter, which is anticipated to
last three (3) days, is set to begin Mondayc July 17l
2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Tuesdayl Jul¥ 11l 2006
at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions
and voir dire questions are due by no later than 4:30

p.m. on July 3, 2006.

This document entered on the docket sheet ln compliance g

with mile 58 and/or 79(a) FRCP on 69 '/§'QS

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this £§ day of August, 2005.

00 M‘(M

Jo PHIPPS Mc§ALLA
UN TED sTATEs DISTRICT JUDGE

     

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UNIED

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02301 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

